          Case 3:20-cv-00857-SDD-SDJ           Document 1-4      12/18/20 Page 1 of 2




                             UNITED STATES DISTRICT COURT

                             MIDDLE DISTRICT OF LOUISIANA


CAIN RICHARD                 *
                             *
          Plaintiff,         *                              Civil Action No.:
                             *
                             *                              District Judge:
VERSUS                       *
                             *
BRANDSAFWAY, LLC and         *                              Magistrate Judge:
CF INDUSTRIES HOLDINGS, INC. *
                             *
                             *
         Defendants.         *
                             *
*****************************

            CERTIFICATE OF FILING STATE COURT NOTICE OF REMOVAL

          The undersigned attorney hereby certifies that defendant, BrandSafway, LLC (hereinafter

“BrandSafway”), will cause to be filed with the Clerk of Court for the 23rd Judicial District Court

for Ascension Parish, Louisiana, a State Court Notice of Removal, a copy of which is attached

hereto.


                                                     Respectfully submitted,

                                                     /s/ Alex P Tilling
                                                     ______________________________
                                                     Alex P Tilling - # 29686
                                                     Megan A. Haynes - # 37158
                                                     LEAKE & ANDERSSON LLP
                                                     1100 Poydras Street, Suite 1700
                                                     New Orleans, LA 70163
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                                                     Attorneys for BrandSafway LLC

                                                 1
             Case 3:20-cv-00857-SDD-SDJ            Document 1-4      12/18/20 Page 2 of 2




                                     CERTIFICATE OF SERVICE

             I hereby certify that the foregoing pleading has been delivered to all counsel of record,

either through the CM/ECF system, or by depositing a copy of same in the United States mail, first

class postage prepaid at their last known address of record, or by hand delivery, or by e-mail or by

facsimile transmission, on December 18, 2020.


                                                         /s/ Alex P Tilling
                                                         ____________________________________
                                                         ALEX P TILLING
43678 / 31




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